                                    Exhibit 6A
               Excerpts of Deposition of Alexandra Schwarzman




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     1                        UNITED STATES BANKRUPTCY COURT

     2                        EASTERN DISTRICT OF MICHIGAN

     3                             SOUTHERN DIVISION

     4     ____________________________

     5     In re                                      )   Chapter 9

     6                                                )

     7     CITY OF DETROIT, MICHIGAN,                 )   Case No. 13-53846

     8                                                )

     9                            Debtor.             )   Hon. Steven W. Rhodes

    10     ___________________________ )

    11

    12

    13            The videotaped deposition of ALEXANDRA SCHWARZMAN,

    14     called by the City of Detroit for examination, taken

    15     pursuant to notice, agreement and by the provisions of

    16     the Federal Rules of Civil Procedure 26 and 30 and

    17     Federal Rules of Bankruptcy Procedure 7026 and 7030

    18     pertaining to the taking of depositions, taken before

    19     DEBORAH HABIAN, Registered Merit Reporter, Certified

    20     LiveNote Reporter, a Notary Public within and for the

    21     County of Cook, State of Illinois, and a Certified

    22     Shorthand Reporter of said State, at the offices of

    23     Jones Day, 77 West Washington Street, Chicago,

    24     Illinois, on Thursday, the 12th day of September,

    25     2013, at 12:00 p.m. CST.




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                                                                 1      (CONTINUED)
     1                   APPEARANCES
                                                                 2             APPEARANCES
     2
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     3     ON BEHALF OF THE CITY OF DETROIT
                                                                 4      ON BEHALF OF ASSURED GUARANTY MUNICIPAL CORP.
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                                                      Page 3                                                            Page 5
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                                                      Page 6                                                               Page 8
     1             INDEX                                                1                 THE VIDEOGRAPHER: We are now on the
     2   WITNESS                             PAGE                       2     record in the matter of In Re: City of Detroit,
     3   ALEXANDRA SCHWARZMAN                                           3     Michigan.
     4      Exam by Ms. Kovsky-Apap                   10                4                 Today's date is September 12th, 2013.
     5                                                                  5     The time is now 12:03 p.m. according to the video
     6   QUESTIONS INSTRUCTED NOT TO ANSWER                             6     monitor. This is the video-recorded deposition of
     7     By Mr. Arnault                                               7     Alexandra Schwarzman, being taken at 77 West Wacker
     8        Page 29, Line 8 Page 78, Line 4                           8     Drive in Chicago, Illinois.
     9        Page 30, Line 10 Page 81, Line 22                         9                 I'm the camera operator. My name is
    10        Page 31, Line 18 Page 99, Line 15                        10     Peter Prezzano, in association with Alderson
    11        Page 44, Line 8 Page 105, Line 8                         11     Reporting, located at 1155 Connecticut Avenue,
    12        Page 46, Line 12 Page 111, Line 9                        12     Northwest, in Washington, D.C.
    13        Page 47, Line 1 Page 125, Line 21                        13                 The court reporter is Debbie Habian,
    14        Page 49, Line 13 Page 126, Line 3                        14     also in association with Alderson Reporting.
    15        Page 49, Line 23 Page 127, Line 10                       15                 Will all attorneys please identify
    16        Page 64, Line 7 Page 132, Line 20                        16     themselves and the parties they represent, beginning
    17        Page 66, Line 21                                         17     with the party noticing this proceeding.
    18                                                                 18                 MS. KOVSKY-APAP: My name is Deborah
    19                                                                 19     Kovsky-Apap. I'm with the law firm of Pepper
    20   QUESTIONS WITNESS REFUSED TO ANSWER                           20     Hamilton. We're special litigation counsel to the
    21        Page 32, Line 20                                         21     City of Detroit.
    22        Page 44, Line 18                                         22                 MR. ARNAULT: My name is William
    23        Page 52, Line 13                                         23     Arnault. I'm with Kirkland & Ellis and we represent
    24        Page 66, Line 1                                          24     Syncora Guarantee Incorporated and Syncora Capital
    25                                                                 25     Insurance Incorporated.


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     1               SCHWARZMAN EXHIBITS                                1                THE VIDEOGRAPHER: Will the court
     2   NUMBER            DESCRIPTION                    PAGE          2     reporter please administer the oath and we may
     3   Exhibit 1      Syncora Amended Disclosure         27           3     proceed.
     4               of Rebuttal Witnesses and                          4                THE REPORTER: Raise your right hand,
     5               Documents                                          5     please.
     6                                                                  6                  (Witness sworn.)
     7   Exhibit 2      Objection of Syncora Guarantee      40          7                THE WITNESS: Yes.
     8               Inc. and Syncora Capital Assurance                 8                THE REPORTER: Thank you.
     9               Inc. to Motion of Debtor for                       9                MS. KOVSKY-APAP: Okay. Before we
    10               entry of an order                                 10     get started, I know Mr. Arnault has an objection he'd
    11                                                                 11     like to place on the record.
    12   Exhibit 3      Declaration of Alexandra          55           12                MR. ARNAULT: That's correct.
    13               Schwarzman                                        13     Thanks, Deb.
    14                                                                 14                So before we begin, I want to make a
    15   Exhibit 4      Confidentiality Agreement,        84           15     few comments on the record. First of all, I would
    16               undated and unsigned                              16     like to note that -- for the record -- that this
    17                                                                 17     deposition is actually being videotaped right now,
    18   Exhibit 5      7/10/2013 Confidentiality         106          18     even though it was not noticed as a videotaped
    19               Agreement                                         19     deposition. As a result, we object on the grounds of
    20                                                                 20     failure to provide adequate notice.
    21   Exhibit 6      7/10/2013 Confidentiality         109          21                Second of all, we've stated that, in
    22               Agreement, executed by Syncora                    22     our filing, that we may call Miss Schwarzman as a
    23                                                                 23     rebuttal witness to testify about topics that are
    24   Exhibit 7     7/9/2013 Confidentiality        140             24     consistent with her declaration and the negotiations
    25               Agreement re the Data Room                        25     that she had with the City regarding an NDA. Given


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     1   the limited categories of information that                   1         Q. Okay. And if you don't ask me to
     2   Miss Schwarzan -- Schwarzman may testify about, any          2   rephrase the question, I'm going to assume you
     3   questions should be limited to these narrow                  3   understand it.
     4   categories.                                                  4         A. Okay.
     5              Third and last, Miss Schwarzman is an             5         Q. And if you answer the question, I
     6   attorney at Kirkland & Ellis who has been providing          6   will assume that you've understood what the question
     7   legal advice to Syncora. So I want to be very clear          7   is asking. Okay?
     8   up front that by putting her up for this deposition we       8         A. Okay.
     9   are not waiving any protections afforded by the              9         Q. Is there any reason that you're
    10   attorney-client privilege or the work product doctrine      10   unable to testify fully and accurately today?
    11   and she will not be providing answer -- or providing        11         A. No.
    12   answers to any questions that require her to divulge        12         Q. Are you taking any medications?
    13   any privileged or otherwise-protected information.          13         A. No.
    14              Thanks, Deb.                                     14         Q. Are you under the influence of
    15              MS. KOVSKY-APAP: Okay. Well, we'll               15   alcohol or any drugs?
    16   respond to those objections in due course, I'm sure.        16         A. No.
    17              MR. ARNAULT: Sure.                               17         Q. Are you represented here by counsel
    18              ALEXANDRA SCHWARZMAN,                            18   today?
    19     called as a witness herein by the City of Detroit,        19         A. Yes. Well, my firm.
    20      having been first duly sworn, was examined and           20         Q. Well, when Mr. Arnault introduced
    21              testified as follows:                            21   himself for the record, he indicated that he
    22                 EXAMINATION                                   22   represents Syncora.
    23   BY MS. KOVSKY-APAP:                                         23         A. That's correct.
    24         Q. Okay. Ms. Schwarzman, as I mentioned               24         Q. And he does not represent you
    25   before my name is Deb Kovsky and my firm is special         25   personally; is that correct?


                                                   Page 11                                                         Page 13
     1   litigation counsel to the City of Detroit and I'll be        1          A. Correct.
     2   asking you some questions under oath today.                  2          Q. Okay. So you are not actually
     3               My first question for you is, have               3   represented by counsel today?
     4   you ever been deposed before?                                4          A. Correct.
     5          A. No.                                                5          Q. Okay. Did you have any discussions
     6          Q. Have you ever attended a deposition?               6   with anyone in preparation for this deposition?
     7          A. No.                                                7          A. Yes.
     8          Q. So I just want to give you some real               8          Q. Who did you have discussions with?
     9   basic what I call rules of road, just so that we're on       9          A. Mr. Arnault and Steve --
    10   the same page and so that the court reporter is able        10              MR. ARNAULT: Well, sorry. I'll just
    11   to get down your answers clearly.                           11   interject for the record. We do -- I do represent
    12               First, I -- I'd ask that you give               12   Miss Schwarzman in her -- into the capacity that she's
    13   verbal answers to questions since the court reporter,       13   testifying today.
    14   even though we're videotaping, this the court reporter      14              MS. KOVSKY-APAP: Well, she's
    15   still needs to be able to record your verbal answers.       15   testified that she believes she's not represented by
    16               If you need a break at any point or             16   you, so...
    17   if you need to consult with your colleague for any          17              MR. ARNAULT: Well, I mean, we can
    18   reason, that's fine, just let us know. But what I'd         18   take this off the record or -- do you believe --
    19   ask is if there was a pending question to first answer      19   sorry. Go ahead.
    20   the question then we can take a break. Okay?                20              We can take this off the record
    21          A. Okay.                                             21   quickly.
    22          Q. If I ask a question and you don't                 22              THE VIDEOGRAPHER: Now going off the
    23   understand what I mean, will you ask me to rephrase         23   record at 12:07 p.m.
    24   if?                                                         24      (Recess taken from 12:07 p.m. to 12:09 p.m.)
    25          A. Yes.                                              25              THE VIDEOGRAPHER: Now going back on


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     1   question again?                                                  1     testifying as to -- as a rebuttal witness with respect
     2   BY MS. KOVSKY-APAP:                                              2     to the motion.
     3          Q. My question is, were you aware,                        3                   MR. ARNAULT: No. She's actually
     4   before this was filed, that you might be called as a             4     testifying as a rebuttal witness with respect to the
     5   witness?                                                         5     negotiations that she had surrounding the TRO, and
     6                MR. ARNAULT: You can answer "yes" or                6     with respect to her declaration. She doesn't mention
     7   "no."                                                            7     the forbearance agreement or the order.
     8                THE WITNESS: Yes.                                   8                   MS. KOVSKY-APAP: Well, this -- this
     9   BY MS. KOVSKY-APAP:                                              9     is -- this is the Amended Disclosure of Rebuttal
    10          Q. And how did you come by that                          10     Witnesses and Documents In Advance of the September 23
    11   awareness?                         * * * *                      11     Hearing and it makes specific reference to the
    12          A. I don't want to reveal any                            12     Assumption Motion. There is no hearing pending
    13   communications.                                                 13     regarding a nondisclosure agreement.
    14                MR. ARNAULT: Yes. Objection. This                  14                   MR. ARNAULT: But if you look at what
    15   is -- objections, this would be internal Kirkland               15     she is -- what we specifically --
    16   communications and work product.                                16                   MS. KOVSKY-APAP: We're going to move
    17                Instruct the witness not to answer.                17     on.
    18   BY MS. KOVSKY-APAP:                                             18                   MR. ARNAULT: Okay.
    19          Q. Now, the first paragraph of this                      19     BY MS. KOVSKY-APAP:
    20   document makes reference to "the motion of Debtor for           20             Q. So you decline to -- to state whether
    21   entry of an order: (I) authorizing the assumption               21     you have an understanding of what relief the Debtor is
    22   about certain forbearance and optional termination              22     seeking?                              * * * *
    23   agreement pursuant to Section 365(a) of the Bankruptcy          23             A. Correct.
    24   Code (II) approving such agreement pursuant to                  24             Q. Are you aware that your firm's
    25   Rule 9019 and (III) granting related relief."                   25     clients, Syncora Guarantee Inc. and Syncora Capital


                                                        Page 31                                                              Page 33
     1               Do you see that?                                     1     Assurance Inc. have objected to the Assumption Motion?
     2          A. Yes.                                                   2                  MR. ARNAULT: You can answer "yes" or
     3          Q. Now do you understand in that                          3     "no."
     4   reference, the Debtor that's being referred to is the            4                  THE WITNESS: Yes.
     5   City of Detroit?                                                 5                  MS. KOVSKY-APAP: Unless you have an
     6          A. Yes.                                                   6     objection to state for the record, I'd appreciate it
     7          Q. Are you familiar with the motion that                  7     if you don't instruct the witness how to answer.
     8   is referenced in the first paragraph of what I'll call           8                  MR. ARNAULT: Okay. But I'm
     9   this disclosure?                                                 9     telling -- because you're wading into potentially --
    10          A. Yes.                                                  10                  MS. KOVSKY-APAP: If you -- if you
    11          Q. Have -- and just because it's a real                  11     want to state an objection for the record, you can
    12   mouth-full of a motion, if I refer to that as "the              12     state an objection for the record. But I have to ask
    13   Assumption Motion," would that be okay?                         13     you to stop instructing the witness how to answer my
    14          A. Yes.                                                  14     questions.
    15          Q. Okay. Have you reviewed the                           15                  MR. ARNAULT: Understood.
    16   Assumption Motion?                                              16     BY MS. KOVSKY-APAP:
    17          A. Yes.                                                  17            Q. So just to ask the question again:
    18          Q. Do you have an understanding of what                  18     You're aware that these two entities which I'll
    19   relief the Debtor is seeking by the Assumption Motion?          19     refer -- convenience refer to as "Syncora," unless I'm
    20                                     * * * *                       20     specifically referring to one or the other of them.
    21               MR. ARNAULT: Objection. This calls                  21     Is that okay if I refer to them collectively as
    22   for work product information.                                   22     "Syncora"?
    23               I'll instruct the witness not to                    23            A. Yes.
    24   answer.                                                         24            Q. You are aware that they have objected
    25               MS. KOVSKY-APAP: Mr. Arnault, she's                 25     to the Assumption Motion, correct?



                                                                                                           9 (Pages 30 to 33)

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     1   speaks for itself.                                               1     impairment of third-party rights is a clear basis to
     2               MS. KOVSKY-APAP: Your objection is                   2     deny the Assumption Motion."
     3   noted counsel. Thank you.                                        3           Q. Now, none of those words that you
     4               MR. ARNAULT: Um-hum.                                 4     just read included the words "nondisclosure
     5               THE WITNESS: I believe that that's                   5     agreement," correct?
     6   an accurate reading one can make.                                6           A. Correct.
     7   BY MS. KOVSKY-APAP:                                              7           Q. And using your basic understanding of
     8          Q. Okay. And take a moment, please, to                    8     English and not any legal analysis, do any of those
     9   review paragraphs 49, 50 and 51, if you would.                   9     sentences refer to the negotiation of a nondisclosure
    10          A. (Reviewing document.)                                 10     agreement?
    11               Okay.                                               11                MR. ARNAULT: Objection, form. And
    12          Q. None of those reasons that are                        12     objection to the extent that you can separate out your
    13   identified in those three paragraphs, those paragraphs          13     basic understanding of English and legal analysis
    14   that summarize the reasons for denial of the                    14     but --
    15   Assumption Motion, none of those has anything to do             15                MS. KOVSKY-APAP: Mr. Arnault, I have
    16   with the negotiation of an NDA; is that correct?                16     to ask you to stop with the speaking objections.
    17                                  * * * *                          17                MR. ARNAULT: Well, you're trying to
    18               MR. ARNAULT: Objection, the document                18     delve into what is clearly work product information.
    19   speaks for itself. And this would require the witness           19     You're going after strategy information and her
    20   to make a legal conclusion which would invade the work          20     analysis of what the reasons are that Syncora's
    21   product doctrine and attorney-client privilege.                 21     objecting to -- to the Assumption Motion. It's
    22               I instruct the witness not to answer.               22     clearly work product information and I'm going to
    23               MS. KOVSKY-APAP: As far as the                      23     continue objecting and instructing the witness not
    24   document speaking for itself, your objection is noted.          24     to -- not to answer.
    25   BY MS. KOVSKY-APAP-APAP:                                        25     BY MS. KOVSKY-APAP:


                                                       Page 47                                                            Page 49
     1          Q. However, to the extent that all I am                   1           Q. To the extent that you are able to
     2   asking is, looking at the words on the page, do you              2     answer based on your understanding of the English
     3   agree that there's nothing in those three paragraphs             3     language -- which as a graduate of Vanderbilt and NYU,
     4   that references a nondisclosure agreement? * * * *               4     I assume is pretty good -- are you able to tell me
     5                MR. ARNAULT: Objection. This would                  5     whether any of these sentences that you just read in
     6   require analysis of those three paragraphs which is              6     Paragraph 49 refer to the negotiation of a
     7   work product and attorney-client. And I instruct the             7     nondisclosure agreement?
     8   witness not to answer.                                           8               MR. ARNAULT: Objection, the document
     9                MS. KOVSKY-APAP: Mr. Arnault, I                     9     speaks for itself.
    10   would hate to have to get the judge on the phone on             10               THE WITNESS: I did not read the
    11   such a simple matter, although he did invite us to do           11     words "nondisclosure agreement."
    12   so.                                                             12     BY MS. KOVSKY-APAP:
    13                I am not asking her to analyze. If                 13           Q. Did you read any words that indicated
    14   she -- fine. Let's do this -- we'll do it the hard              14     a nondisclosure agreement without using those specific
    15   way.                                                            15     words?                           * * * *
    16   BY MS. KOVSKY-APAP:                                             16               MR. ARNAULT: Objection, form and,
    17          Q. Miss Schwarzman, please read                          17     again, this would, to the extent you're using
    18   Paragraph 49 out loud.                                          18     "indicated," this could reveal work product
    19          A. "First, the Forbearance Agreement                     19     information.
    20   purports to impair significant third-party rights and           20               I'll instruct the witness not to
    21   seeks to mute state law contractual disputes of third           21     answer.
    22   parties. Neither Section 365 nor Bankruptcy Rule 9019           22     BY MS. KOVSKY-APAP:
    23   allow the Court to adjudicate complicated state law             23           Q. Without revealing work product
    24   issues that bear on third parties who are not parties           24     information, do you see any reference to a negotiation
    25   to the settlement or contract. Instead, the                     25     of a nondisclosure agreement?             * * * *


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     1   BY MS. KOVSKY-APAP:                                          1          Q. You do have personal knowledge of
     2         Q. Yes, you do have an understanding?                  2   that. And your -- even though this is the -- the
     3         A. Yes.                                                3   whole reason for the existence of a potential
     4         Q. So there was presumably some benefit                4   nondisclosure agreement, which is the heart of your
     5   that Syncora would achieve by offering a proposal to         5   testimony, you are refusing to answer any questions
     6   the City?                        * * * *                     6   regarding this potential proposal?
     7             MR. ARNAULT: I'm going to object on                7          A. Yes.
     8   the grounds that, again, you're delving into her             8               MR. ARNAULT: And I'll note for the
     9   mental impressions and her communications with our           9   record that this -- during the depositions of Mr. Orr
    10   client.                                                     10   and Mr. Buckfire, they refused to answer questions
    11             So I'm going to instruct the witness              11   about the DIP or the DIP proposal on the grounds that
    12   not to answer.                                              12   it was commercially sensitive information and --
    13   BY MS. KOVSKY-APAP:                                         13               MS. KOVSKY-APAP: Counsel, you really
    14         Q. Is Syncora in the business of                      14   need to make stop making talk speaking objections.
    15   altruism?                                                   15   We're not arguing the motion in front of the court
    16         A. You would have to ask them.                        16   right now. I'm asking questions of the witness.
    17             MR. ARNAULT: Objection, form.                     17               MR. ARNAULT: I'm simply telling you
    18   BY MS. KOVSKY-APAP:                                         18   that we will be objecting on the same grounds.
    19         Q. In your experience, does a business                19               MS. KOVSKY-APAP: Counsel, if you
    20   party typically make a proposal that does not benefit       20   have a objection to state for the record, by all
    21   itself?                                                     21   means, do so.
    22             MR. ARNAULT: Objection, form,                     22               MR. ARNAULT: Okay. Objection. That
    23   foundation.                                                 23   question would call for commercially sensitive
    24   BY MS. KOVSKY-APAP:                                         24   information that we will not be disclosing, much as
    25         Q. You can answer.                                    25   the City did not disclose in its --


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     1         A. I suppose it depends on the business.               1               MS. KOVSKY-APAP: Counsel, you can
     2         Q. In your discussions with counsel for                2   state your objection for the record. You do not need
     3   the City regarding a nondisclosure agreement, was this       3   to make arguments. We're not deposing Mr. Orr today,
     4   proposal -- this potential proposal was discussed?           4   nor are we arguing before the court.
     5         A. Not the terms.                                      5   BY MS. KOVSKY-APAP:
     6         Q. But, yes, this pro -- was this                      6          Q. Without going into what that
     7   potential proposal discussed in any form?                    7   potential proposal might actually contain, are you
     8         A. The existence of a proposal was                     8   aware -- was -- are you aware if a written proposal
     9   discussed.                                                   9   was actually prepared?
    10         Q. Well, tell me what you said about the              10          A. Yes.
    11   potential proposal.                                         11          Q. Were you involved in the preparation
    12         A. We wanted the City to keep the terms               12   of such a proposal?
    13   of the proposal confidential from the Swap                  13          A. No.
    14   Counterparties.                                             14          Q. Do you know who was involved?
    15         Q. Did you give the City any indication               15          A. Yes.
    16   of what the proposal might be about?                        16          Q. Were there attorneys from Kirkland
    17         A. I did not discuss what the proposal                17   who were involved?
    18   would be about, no.                                         18          A. Yes.
    19         Q. Did Mr. Bennett discuss, in your                   19          Q. Do you know which attorneys were
    20   hearing, anything about the proposal?                       20   involved in the preparation of that proposal?
    21         A. No.                                                21          A. Yes.
    22         Q. So you have no personal knowledge --               22          Q. Who were they?             * * * *
    23   well, let me ask you: Do you have any personal              23               MR. ARNAULT: Objection. This delves
    24   knowledge of what this potential proposal was to be?        24   into attorney-client privilege and work product
    25         A. Yes.                                               25   information.



                                                                                                   21 (Pages 78 to 81)

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     1         Q. -- verbally for the record.                          1           A. Correct.
     2         A. No answer.                                           2           Q. Okay. Do you re- -- looking at this
     3         Q. Okay.                                                3     document, are you able to tell how that was resolved?
     4         A. Can't disclose that.                                 4           A. I'll go through the whole thing.
     5         Q. Now, other than Paragraph 7 of the                   5               (Reviewing document.)
     6   draft NDA where you said you believed that a                  6               I don't see anything in here.
     7   resolution was reached, do you remember whether               7           Q. So you don't see any unilateral
     8   resolution was reached on any of these other issues           8     termination provision?
     9   that were raised?                                             9           A. No. If you can point me to it, if
    10         A. Yeah. I believe we came to a                        10     I'm missing it.
    11   resolution except for the two points that I referenced       11           Q. Well, I didn't see one either. I
    12   in Paragraph 5 of my declaration.                            12     just wanted to see if this refreshed your recollection
    13         Q. What is the resolution with respect                 13     of -- of what was negotiated.
    14   to Syncora's desire to unilaterally terminate the NDA?       14               So your client agreed to a proposed
    15         A. I don't remember the specific                       15     NDA that did not have the unilateral termination
    16   resolution.                                                  16     provision that was initially requested, correct?
    17         Q. Well, let's do this, then. I'm going                17           A. That's what it appears to be.
    18   to give you a later draft and see if this will refresh       18           Q. And with respect to the
    19   your recollection. It's being marked as Exhibit 5.           19     confidentiality restrictions lifting 90 days after
    20       (Schwarzman Exhibit 5 was marked for ID.)                20     termination of the NDA?
    21              MS. KOVSKY-APAP: For those on the                 21           A. I don't see those here either.
    22   phone, we're handing the witness a document that's           22     Although I will note that this is not the final
    23   also entitled "Confidentiality Agreement," dated July        23     version of the NDA, so...
    24   10th, 2013. And I'm going to see what I did with my          24           Q. Well, was there a final version that
    25   copy of it.                                                  25     was executed by all parties?


                                                 Page 107                                                             Page 109
     1              THE WITNESS: (Reviewing document.)                 1           A.   By Syncora. The City never returned
     2   BY MS. KOVSKY-APAP:                                           2     it.
     3         Q. Just let me know when you're done                    3           Q. Okay. How are you able to tell that
     4   reviewing it.                                                 4     this was not the final version?
     5         A. Okay.                                                5           A. Because it's not the signature block
     6         Q. And first, let me ask you: Do you                    6     that's on the final version.
     7   recognize this document?                                      7           Q. Okay. Let me see I may have that
     8         A. Yes.                                                 8     one.
     9         Q. What is it?                                          9                MS. KOVSKY-APAP: Let's mark this as
    10         A. This looks like a later in time draft               10     Number 6.
    11   of the NDA.                                                  11         (Schwarzman Exhibit 6 was marked for ID.)
    12         Q. And this would be after the                         12                MS. KOVSKY-APAP: We're marking as
    13   resolution of most of the issues that we've talked           13     Exhibit 6 a "Confidentiality Agreement," also, dated
    14   about so far, correct?                                       14     as July 10th, 2013. It is -- it's a version that is
    15         A. I think so. Although it's not                       15     appears to have two Syncora entities on the signature
    16   red-lined, so I'd have to go searching for all the           16     block, executed by Syncora.
    17   terms, but I would imagine.                                  17                THE WITNESS: (Reviewing document.)
    18         Q. Well, you said that by the end of the               18     BY MS. KOVSKY-APAP:
    19   call on July 2nd everything except two issues were           19           Q. Is this what, in your mind, would be
    20   resolved, right?                                             20     the last version that was exchanged between the
    21         A. Correct.                                            21     parties?
    22         Q. And so leaving those two issues                     22           A. Yes.
    23   aside, one of the issues that you said was resolved          23           Q. And does this version have a
    24   was the unilateral termination that Syncora was              24     unilateral termination provision?
    25   requesting, correct?                                         25           A. You don't happen to have a red-line,


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     1    BY MS. KOVSKY-APAP:                                             1     data room; is that correct?
     2            Q. In the end, since Syncora made a                     2           A. Yes.
     3    proposal along the same lines as the proposal that it           3           Q. And would it -- well, I'll just
     4    was originally contemplating with respect to the NDA,           4     refresh your recollection.
     5    it went ahead and made the proposal without an NDA.             5               MS. KOVSKY-APAP: Let's have this
     6    So ultimately the NDA was kind of irrelevant, wasn't            6     marked as 7.
     7    it?                                                             7         (Schwarzman Exhibit 7 was marked for ID.)
     8            A. Well, there's two questions in there.                8     BY MS. KOVSKY-APAP:
     9    But as to irrelevance, I'm going to say, no, it was             9           Q. I've handed you what's titled
    10    not irrelevant.                                                10     "Confidentiality Agreement." It's dated July 9th. Do
    11            Q. So Syncora couldn't make its proposal               11     you recognize this as the confidentiality agreement
    12    without the NDA?                                               12     related to the Data Room?
    13            A. I don't want to reveal any                          13           A. Yeah.
    14    confidential communications, but suffice it to say             14           Q. And if you turn to the last page
    15    it's very different circumstances between the initial          15     where the signature blocks are --
    16    time of what was going on here and what was happening          16           A. Um-hum.
    17    in the world when Syncora ultimately made the                  17           Q. -- you see that this was executed by
    18    proposal.                                                      18     the City of Detroit and Syncora Capital Assurance Inc.
    19            Q. Yeah. But ultimately, Syncora was                   19           A. Yes.
    20    able it make its proposal without benefit of any NDA           20           Q. So Jones Day was not a party to this
    21    being signed.                                                  21     agreement, correct?
    22            A. Correct.                                            22           A. They are who I negotiated this
    23            Q. Okay.                                               23     agreement with. But they did not sign the agreement.
    24                 MS. KOVSKY-APAP: I'd like to go off               24           Q. Are you suggesting that,
    25    the record for a couple of minutes and take a short            25     notwithstanding the fact that they didn't sign the


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     1    break.                                                          1     agreement, they were somehow a party to the agreement?
     2               THE VIDEOGRAPHER: Sure. This ends                    2            A. No.
     3    Disk Number 2. Now going off the record at 2:14 p.m.            3            Q. So Jones Day was not a party to this
     4       (Recess taken from 2:14 p.m. to 2:38 p.m.)                   4     agreement; is that correct?
     5               THE VIDEOGRAPHER: This begins Disk                   5            A. Correct.
     6    Number 3. Now going back on the record at 2:38 p.m.             6            Q. Thank you.
     7    BY MS. KOVSKY-APAP:                                             7                 Earlier I asked you some questions
     8          Q. Miss Schwarzman, do you recall that                    8     about what has been called the "forbearance and
     9    you testified earlier that you have negotiated two              9     optional termination agreement."
    10    NDAs in your career so far?                                    10                 Do you remember that?
    11          A. Correct.                                              11            A. Yeah.
    12          Q. And you said that Jones Day was the                   12            Q. And you're aware of what agreement
    13    counterparty to both of those NDAs; is that correct?           13     I'm referring to when I say "forbearance and optional
    14          A. Correct.                                              14     termination agreement"?
    15          Q. By "counterparty," do you mean the                    15            A. Yes.
    16    signatory?                                                     16            Q. Is my understanding correct that you
    17          A. By "counterparty," I mean the firm                    17     will refuse, on the basis of attorney-client privilege
    18    with which I was negotiating.                                  18     and/or work product, to testify any further than
    19          Q. Okay. So it's not your testimony                      19     you've already done regarding your understanding of
    20    that Jones Day actually ever signed an NDA with                20     what that agreement means and what its purpose is?
    21    Syncora?                                                       21            A. Correct.
    22          A. No. I don't remember who signed the                   22                 MS. KOVSKY-APAP: Okay. I will pass
    23    other one. They never signed this.                             23     the witness, if anyone else wants to ask any
    24          Q. Okay. And the other NDA was with                      24     questions. I think most of the people on the phone
    25    respect to what has been referred to as the City's             25     indicated they did not.



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